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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Civil No. 12-3109(DSD/JSM)

Denson International Limited,

                   Plaintiff,
v.
                                                                ORDER
Liberty Diversified
International, Inc., d/b/a
Safco Products Company,

                   Defendant.


       Tiffany A. Blofield, Esq., Wintrop & Weinstine, PA, 225
       South 6th Street, Suite 3500, Minneapolis, MN 55402, for
       plaintiff.

       William R. Stoeri, Esq. and Meghan L. DesLauriers, Esq.,
       Dorsey & Whitney LLP, 50 South 6th Street, Suite 1500.
       Minneapolis, MN 55402, for defendant.



       This matter is before the court upon the cross-motions for

summary judgment by defendant Liberty Diversified International,

Inc.       (LDI)   and      plaintiff/counterclaim       defendant        Denson

International Limited (Denson).         Based on a review of the file,

record, and proceedings herein, and for the following reasons, the

court grants both motions.1



                                  BACKGROUND

       This commercial dispute arises out of the parties’ business



       1
       Denson also moves to strike the testimony and report of
LDI’s expert witness, Arthur Hill. ECF No. 146. Because the court
grants summary judgment without relying on Hill’s report or
testimony, it denies as moot the motion to exclude.
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relationship.          LDI is the parent company of Safco Products Co.

(Safco), which sells office furniture and equipment.                       Between 2004

and July 2012, LDI also owned and operated Valley Craft, Inc.,

which manufactures and sells metal hand trucks.2                       Denson, a now-

defunct       Hong    Kong      trading    company,     contracted      with    Chinese

manufacturers to produce office equipment and furniture.                            Denson

then sold the finished products to companies like LDI.

I.     The Parties’ Business Relationship

       In 1992, LDI retained Denson to coordinate with several

factories in China to manufacture office products.                         Duffy Decl.

¶ 8.       Generally, LDI would send drawings or samples of its desired

products       to     Denson,    which     would     then       identify    a    Chinese

manufacturer to manufacture the products. Mandigo Dep. at 35:9-23.

Denson also negotiated wholesale prices with the manufacturer and

conducted quality control.                Duffy Decl. ¶ 9.          These tasks were

primarily performed by Denson’s former Operations Manager, Vincent

To.    Duffy Decl. ¶¶ 9-13.

       Two Chinese factories - EKO Factory and Nanjing Lanqu Import

& Export Limited factory (Nanjing Factory) - manufactured the “vast

majority” of the products that Denson sourced on behalf of LDI, and

specifically          Safco.      Weil    Affirmation       ¶    21.       Denson    also

coordinated          with    three   smaller    Chinese         manufacturers.         Id.


       2
       For ease of reference, the court will refer to LDI, Safco,
and Valley Craft collectively as “LDI” unless a finer distinction
is required.

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Although    Denson    was   LDI’s   main   contact   in   China,      LDI    would

coordinate with other brokers when it believed that Denson’s prices

were too high.       Mandigo Dep. at 30:2-6, 32:5-15.           In April 2008,

LDI opened an office in Shanghai and began directly purchasing

products without Denson’s involvement.         Id. at 29:15-18, 33:18-21;

DesLauriers Decl. Exs. 8-12.          LDI eventually stopped purchasing

through Denson altogether.

II.    Facts Relating to Denson’s Claims

       In March 2007, Vincent To contacted LDI employees Phil Mandigo

and Pam LaFontaine to discuss potential employment with LDI.                   See

Krummen Decl. Ex. 32, at LDI 2495. To maintain confidentiality, To

communicated through a private email account, over the telephone,

and in person.         See, e.g., id. at LDI2495, LDI2493; Ex. 36.

Initially, To offered to manage LDI’s planned operations in China.

On April 17, 2008, LaFontaine asked To make estimates of LDI’s

projected    monthly    expenses.     DesLauriers      Decl.    Ex.    14.      To

responded with general ideas on salary, staffing, and production

control, and estimated that he could save LDI ten percent annually.

Id. Ex. 15.    LaFontaine responded that “when we have taken product

lines and quoted them elsewhere we have seen around 35% savings.”

Duffy Decl. Ex. 8, at DENSON 432.               LaFontaine rejected To’s

proposal on May 22, 2008, stating that LDI had already opened an

office in Shanghai and expected to begin operations by the end of

the summer.     DesLauriers Decl., Ex. 17.


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      Approximately two years later, To offered to work for LDI as

a consultant and help move “the Safco manufacturing business from

Denson and direct to the original vendors and factories.”                  Id. Ex.

18, at DENSON 33.    When LDI rejected this proposal, To offered to

serve as a broker for the three smaller Chinese factories that made

products for Safco.       Id. Ex. 19.        LaFontaine asked if To could

provide a list of items and prices that would be covered under the

arrangement.   DesLauriers Decl. Exs. 20, 21. On April 21, 2011, To

sent LaFontaine a “prices list of the remaining products from the

three factories.”     Id. Ex. 23, at DENSON 1.           The document stated

that “specification, requirement, quality and packaging will be

[the] same as Denson shipments ....”           Id. at DENSON 3.         The prices

were between five and fifteen percent lower than the prices that

Denson charged LDI.    Weil Affirmation ¶ 42(ii-iii).              LDI accepted

the proposal, and TO resigned from Denson in May 2011.                  Id. ¶ 32.

Denson sued To in Hong Kong shortly thereafter, and the parties

settled in August 2012.     DesLauriers Decl. Exs. 24, 25.              As part of

the settlement, To admitted that he breached his fiduciary duties

to   Denson.    Id. Ex.    25.    He       denied   however,     that    he “ever

disclosed, divulged or provided copies or extracts of any of

[Denson’s] confidential information or trade secrets.”                  Id. Ex. 27

¶ 11.

III. Facts Relating to LDI’s Counterclaims

      In December 2004, the United States Department of Commerce


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issued an antidumping order that set a 383.6 percent duty rate on

most Chinese exporters and manufacturers of hand trucks.                           Second

DesLauriers     Decl.,     Ex.    1.       At    the   time,    Denson       had    been

coordinating with Chinese factories to manufacture and ship hand

trucks for Valley Craft. Some of the hand trucks were manufactured

by nonparty Qindao Taifa Group Co. (Taifa), a factory in northern

China   that    was   subject     to   a   lower    antidumping       duty    rate    of

approximately thirty percent.                  Id. Ex. 2     Other hand trucks,

however, were manufactured by a factory subject to the higher duty

rate. Id.      Taifa would only fulfill large quantity orders, so when

Valley Craft      needed    a    small     quantity of     hand      trucks,    Denson

coordinated the orders with EKO Development, a distributor located

in Guangzhou, China.       See Duffy Dep. at 148:3-17, 149:21-24.                     EKO

would purchase hand truck orders in bulk from Taifa, and Denson

would then sell them to Valley Craft.               See id.

     Vincent To informed Valley Craft that Denson could move the

manufacture of all of its hand trucks to Taifa to avoid the higher

duty rate.      Second DesLauriers Decl. Ex. 2.                In order to comply

with the Customs order, Valley Craft asked that Denson provide the

name and address of the factory, and to include the applicable

anti-dumping case number on each invoice.                  Id. Ex. 4, at DENSON

7550.   Valley Craft agreed that it would be sufficient to “send a

declaration letter” for each shipment that would include “Taifa’s

name, address, the case number and all the models and quantities


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shipped[.]”      Id. at DENSON 7549.

     From 2005 to 2007, the invoices for all transactions stated

that the hand trucks were “produced by Qingdao Taifa Group Imp[.]

& Exp. Co., Ltd. with the Anti-Dumping Case Number A56-891-004.”

See Handler Decl. Ex. 5; Second DesLauriers Decl. Exs. 7-12; Duffy

Dep. 192:22-24.      At least some of these shipments also included a

certificate stating that the hand trucks were sold by Taifa to

Denson.    See, e.g., Handler Decl. Exs. 4, 35, 36.3

     In January 2008, Customs rejected a shipment to Valley Craft

because the invoice did not include an antidumping clause. Handler

Decl. Ex. 6; Second DesLauriers Decl. Ex. 13, at DENSON 7590-91.

Valley Craft contacted Vincent To to inquire about the missing

clause. Second DesLauriers Decl. Ex. 13, at DENSON 7590. To first

responded that Denson believed the higher duty rate did not apply

to the particular hand trucks purchased by Valley Craft.                    Id.    To

later admitted, however, that he had make a mistake and that the

higher    duty   rate   did   in   fact       apply.    Handler     Decl.   Ex.    7.

Specifically, To explained that the hand trucks at issue were

manufactured by a “sister company (in south China) of Taifa (in

North China)” and that “Taifa would not accept orders for new items


     3
       Denson claims that it cannot locate certain documents,
including specific certificates of sale, that are almost a decade
old. Countercl. Def.’s Reply Mem. at 9. As a result, although
Denson has produced a number of certificates of sale, only a few
correspond to the 2005 to 2007 transactions at issue in this case.
See, e.g., Handler Decl. Ex. 35, at DENSON 553, 7393 (corresponding
to purchase order numbers 91229 and 97189).

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and in small quantities and our factory in the south could not add

the clause any more.”      Id.     LaFontaine told Valley Craft that she

could use LDI’s collective buying power to ensure that Denson put

the clause back on the invoices.           Id. Exs. 8-9.    That same day, LDI

asked Denson to include language indicating that the orders were

“exempt from the anti-dumping clause.”            Id. Ex. 10.

       To responded on April 3, 2008, stating “[p]ursuant to your

request, [Denson] will arrange the shipment of this order and will

put the statement that these carts are exempt from the anti-dumping

series.” Id. Ex. 11.      Denson’s next invoice, dated April 10, 2008,

stated simply that “these carts are exempt from the anti-dumping

series.”    Id. Ex. 13.   The invoice did not state, however, that the

hand trucks were manufactured by Taifa, nor did it include Taifa’s

specific antidumping case number. Id. On October 14, 2008, Denson

sent a second invoice that included identical language.                  Id. Ex.

14.    Before the shipment, Valley Craft asked To if the hand trucks

would be subject to the higher antidumping rate.                 Id. Ex. 15, at

DENSON 7655.    To responded that the hand trucks were “in the list”

but that “there should be no problem” because “this factory in

south China is not famous (compare[d] with Taifa) and lastly your

order quantity is small.”        Id.

       In December 2008, customs rejected the hand truck shipment

corresponding to the October purchase order.               Id. Ex. 18.    Valley

Craft contacted To, who disclosed that Yangjiang Shunhe Industrial


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Co. Ltd (Yangjiang) had produced the hand trucks.                      Id. Ex. 19;

Second DesLauriers Decl. Ex. 15.             To further explained that the

“products were manufactured in south China ... and all shipped

products are [on] the anti-dumping list.”                Handler Decl. Ex. 19.

He claimed that he “just followed the instruction from Valley Craft

to add the statement in the shipping documents[.]” Id.

       Customs    sent   LDI   a   Notice    of    Action    in     February    2009,

informing the company that it was under investigation for failing

to pay antidumping duties.         Id. Ex. 23, at LDI 246.           LDI conducted

an internal investigation and responded to Customs on October 13.

Id. at LDI 237.      LDI informed Customs that there was “inconsistent

and/or incomplete underlying documentation” to prove that certain

hand trucks shipped between 2005 and 2009 were manufactured by

Taifa.    Id. at LDI 241.      On July 23, 2012, Customs sent a Notice of

Penalty to LDI, alleging that the company failed to identify or

state    the   correct    antidumping       case   numbers     on     some   of     its

purchases.       Id. Ex. 26, at LDI 2916.          The notice further alleged

that the “violation ... occurred as a result of negligence.”                        Id.

On August 2, 2012, LDI sent a letter and check for $1,252,045 to

Customs, stating that the payment was to “resolve all liabilities

with respect to importations made by Valley Craft, Inc.”                       Id. at

LDI 2915.

IV.    Procedural History

       Denson filed suit against LDI on December 13, 2012, alleging


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misappropriation    of    trade    secrets     and   willful      and   malicious

misappropriation    of    trade   secrets.       LDI     filed    counterclaims,

alleging fraudulent misrepresentation, fraudulent omission, and

breach of contract.        Denson moved for summary judgment on the

counterclaims and the court granted the motion only as to the

breach-of-contract claim.          Denson now again moves for summary

judgment,     and   LDI    moves     for       summary     judgment      on      the

misappropriation claims.



                                  DISCUSSION

I.    Standard of Review

      “The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”                 Fed. R. Civ.

P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

A fact is material only when its resolution affects the outcome of

the case.     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986).   A dispute is genuine if the evidence is such that it could

cause a reasonable jury to return a verdict for either party.                    Id.

at 252.

      On a motion for summary judgment, the court views all evidence

and inferences in a light most favorable to the nonmoving party.

Id. at 255.    The nonmoving party, however, may not rest upon mere

denials or allegations in the pleadings but must set forth specific


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facts sufficient to raise a genuine issue for trial.             Celotex, 477

U.S. at 324.     A party asserting that a genuine dispute exists - or

cannot exist - about a material fact must cite “particular parts of

materials in the record.”          Fed R. Civ. P. 56(c)(1)(A).            If a

plaintiff cannot support each essential element of a claim, the

court must grant summary judgment because a complete failure of

proof regarding an essential element necessarily renders all other

facts immaterial.      Celotex, 477 U.S. at 322-23.

II.    Misappropriation of Trade Secrets

       Denson argues that LDI misappropriated its trade secrets in

violation of the Minnesota Uniform Trade Secrets Act (MUTSA).                  To

prevail on this claim, Denson must show the existence of a trade

secret and improper acquisition, disclosure, or use of the trade

secret.     Minn. Stat. § 325C.01, subd. 3; Electro-Craft Corp. v.

Controlled Motion, Inc., 332 N.W.2d 890, 897 (Minn. 1983). A trade

secret is information that must (1) not be generally known or

readily ascertainable, (2) derive independent economic value from

its secrecy, and (3) be the subject of reasonable efforts to

maintain its secrecy.       Minn. Stat. § 325C.01, subd. 5; Electro-

Craft, 332 N.W.2d at 899.

       Denson argues that LDI, via To, misappropriated the following

trade secrets:     (1) “price lists by factory, customer, and product

type, price discounts, and shipping and invoice processes”; (2)

“financial information, including profit margins, direct costs and


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expenses, salaries, payroll expenses, office rent, office overhead,

and other internal expenses”; (3) “quality control procedures,

inspection     reports,   and   inspection      checklists”;        and       (4)

“engineering drawings of the manufacturing process.”             DesLauriers

Decl. Ex. 28, at 7-8.

       A.   Failure to Identify Alleged Trade Secrets

       LDI argues that Denson’s claim fails because it has not

adequately identified its alleged trade secrets.             “To succeed on a

trade secret misappropriation claim, a plaintiff must first define

its alleged trade secrets with sufficient specificity.”              Bay Side

Recycling Co., LLC v. SKB Envtl., Inc., No. 14-4550, 2014 WL

6772908, at *10 (D. Minn. Dec. 1, 2014).        “Without a proven trade

secret there    can   be no   action for    misappropriation,        even     if

defendants’ actions were wrongful.”        Electro-Craft, 332 N.W.2d at

897.    LDI argues that Denson has not sufficiently described what

“engineering drawings of the manufacturing process” are. The court

agrees.

       First, Denson director David Weil admitted that even he did

not know what the term “engineering drawings of the manufacturing

process” means.       Weil Dep. at 149:22-150:2.         Second, although

Denson’s 30(b)(6) witness identified one product for which the

company created drawings, he did not provide an example of the

drawings or explain their content with any particularity.                 Duffy

Dep. at 80:15-25; see CHS Inc. v. PetroNet, LLC, No. 10-94, 2011 WL


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1885465, at *8 (D. Minn. May 18, 2011) (finding no trade secret

where plaintiff “fail[ed] to explain what the allegedly secret

processes reflected in the[] documents are” and only gave “a few

specific examples of the documents it claims are trade secrets”).

Under these circumstances, the engineering drawings cannot form the

basis of a misappropriation claim.

     LDI next argues that Denson fails to adequately specify the

financial information that it alleges to be a trade secret. Denson

claims that this category covers information “about our employment,

our staff levels, our salaries, our overhead, our expenses, ... our

profit    margins”    and    “[a]nything     else   which    goes   toward       the

viability, profitability of a business.”            Duffy Dep. at 47:11-17.

Such generalizations are insufficient to establish a trade secret

as a matter of law.         See Menzies Aviation (USA), Inc. v. Wilcox,

978 F. Supp. 2d 983, 994-95 (D. Minn. 2013) (denying temporary

restraining    order    where   plaintiff     “merely     generalize[d]      that

information    such    as   marketing    information,       internal    reports,

employment matters and financial condition were confidential”); CHS

Inc., 2011 WL 1885465, at *7 (granting summary judgment where

plaintiff did nothing more than “list general areas of information

which    contain   unidentified    trade     secrets”).         Although   Denson

submitted recent annual financial statements in response to LDI’s

motion, see Krummen Decl. Exs. 70-73, it does not specify the

information included within those reports that should be considered


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a trade secret.    See AMP, Inc. v. Fleischhacker, 823 F.2d 1199,

1203 (7th Cir. 1987) (finding insufficient “six single-spaced,

typewritten pages listing by general item and category hundreds of

pieces of ... internal information”); U.S. Gypsum Co. v. LaFarge N.

Am., Inc., 508 F. Supp. 2d 601, 636 (N.D. Ill. 2007) (stating

plaintiff cannot “point to an 11,000-page document covering many

diverse topics and assert that the entire document constitutes a

trade secret”).   The court therefore cannot conclude that Denson’s

engineering drawings and financial information, as identified by

Denson, are trade secrets.

     B.   Remaining Trade Secrets

     The court also finds that Denson has not established that the

remaining categories of information are trade secrets.4              First,

Denson fails to show that it adopted any measures, let alone

reasonable ones, to maintain the confidentiality of any of its

alleged trade secrets.       Denson provides no evidence that its


     4
       To establish that its information is entitled to trade
secret status, Denson relies heavily on a declaration submitted by
its 30(b)(6) witness.      Many of the allegations made in the
declaration are either conclusory or contradict the witness’s
deposition testimony.     See, e.g., Duffy Decl. ¶ 27 (“These
engineering drawings were not generally known or reasonably
ascertainable and provided Denson with a competitive advantage.”);
id. ¶ 37 (“Denson had a policy against disclosing this information
to outside sources.”). As a result, the court will not consider
these statements. See Ballard v. Heineman, 548 F.3d 1132, 1136
(8th Cir. 2008) (“[C]onclusory affidavits devoid of specific
factual allegations rebutting the moving party’s evidence cannot
defeat a summary judgment motion.”); City of St. Joseph v. Sw. Bell
Tel., 439 F.3d 475-76 (8th Cir. 2006) (disregarding affidavit that
contradicts prior deposition testimony without explanation).

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employees signed confidentiality or non-disclosure agreements, that

it   adopted   a   policy    requiring        certain   information        to   remain

confidential,      or    that   it   marked      any    of   its     documents       as

confidential.      Duffy Dep. at 128:3-129:2; Weil Dep. at 176:18-21,

180:12-181:21.     Instead, Denson simply argues that the importance

of confidentiality is widely understood among Hong Kong businesses.

Weil Dep. at 180:17-181:21.          This is insufficient as a matter of

law.   See Nw. Airlines v. Am. Airlines, 853 F. Supp. 1110, 1115 (D.

Minn. 1994) (“Mere intention to keep material confidential is not

enough to confer trade secret protection.”); Electro-Craft, 332

N.W.2d at 901-09 (finding no violation where plaintiff did not

maintain    physical     security    of   the     premises,        label    documents

confidential,       or      issue    a        policy     statement          regarding

confidentiality).

       Moreover, Denson has not adequately shown that its wholesale

price list derived economic value from its secrecy.                        To satisfy

this element, the list “must provide a competitive advantage” to

Denson. Wyeth v. Natural Biologics, No. 98-2469, 2003 WL 22282371,

at *19 (D. Minn. Oct. 2, 2003).           Denson argues that its wholesale

prices were valuable because the price list that To provided to LDI

was allegedly derived from Denson’s prices.               Even if this is true,

however, the record shows that LDI engaged in its own price

negotiations with manufacturers long before To provided his list,

and compared its prices against those that Denson offered LDI.


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LaFontaine Dep. at 39:1-40:24.     Indeed, LDI conducted a review of

To’s list and noted that his proposed savings were close to those

that LDI had obtained from negotiating directly with the Nanjing

and EKO factories.   See id. at 43:4-6, Krummen Decl. Ex. 56.

     LDI next argues that Denson’s quality control procedures and

training processes were readily ascertainable.         The court agrees.

Although Denson’s inspectors made detailed observations regarding

each product, Denson used a procedure known as “MTD-STD-105E S2 AQL

1.0 & 4.0,” a military standard that is readily available on the

Internet. See Weil Dep. at 47:5-25, 51:20-52:16; DesLauriers Decl.

Exs. 31, 32; Krummen Decl. Exs. 74-77.      Thus, there is no credible

dispute that each of Denson’s alleged trade secrets fail to meet at

least one of the required elements under Minnesota law.                As a

result, summary judgment is warranted on Denson’s misappropriation

claim.5

III. LDI’s Fraud Counterclaims

     LDI’s first counterclaim alleges that Denson fraudulently

misrepresented the manufacturer of certain hand truck shipments,

which directly caused LDI’s liability to customs authorities.               LDI

specifically argues that Denson lied when it claimed that certain

hand trucks shipped between 2005 and 2008 were manufactured by

Taifa, which triggered lower antidumping duties than otherwise


     5
        Because the court grants summary judgment on the
misappropriation claim, summary judgment is also warranted on the
claim for willful and malicious misappropriation.

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would have applied. To establish fraudulent misrepresentation, LDI

must demonstrate that

             (1) there was a false representation by a
             party of a past or existing material fact
             susceptible of knowledge; (2) made with
             knowledge of the falsity of the representation
             or made as of the party’s own knowledge
             without knowing whether it was true or false;
             (3) with the intention to induce another to
             act in reliance thereon; (4) that the
             representation caused the other party to act
             in reliance thereon; and (5) that the party
             suffer[ed] pecuniary damage as a result of the
             reliance.

Hoyt Props., Inc. v. Prod. Res. Grp., LLC, 736 N.W.2d 313, 318

(Minn. 2007).

       As an initial matter, the court finds that the shipments made

between 2005 to 2007 cannot form the basis of a fraud claim,

because there is no evidence in the record establishing that hand

trucks shipped during that period were not manufactured by Taifa.

For    at    least   some   of   those       transactions,    Denson       produced

certificates showing that Taifa sold the hand trucks to Denson.

See, e.g., Handler Decl. Ex. 36, at DENSON 553.                    LDI notes that

shipping orders for every purchase from 2005 to 2008 state that all

hand trucks were shipped from the port of Huangpu, which is more

than 1,000 miles from Taifa.           See, e.g., Second DesLauriers Decl.

Exs. 7 at DENSON 25888, 12 at DENSON 22646.                       As explained by

Denson, however, Taifa often accepted Valley Craft’s smaller orders

only    if   they    were   included    in    bulk   purchases      made    by     EKO

Development, a distributor located near Huangpu.                     Second Duffy

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Decl. ¶¶ 6, 20-21; Duffy Dep. at 148:3-15, 149:21-24.                  Thus, the

location of the shipping port does not necessarily preclude a

determination     that    the   products    were   manufactured       in   Taifa.

Further, the fact that Denson regularly relied on EKO Development

between 2005 and 2008 does not credibly suggest that the same

manufacturer produced all of the hand trucks at issue.

       LDI also alleges that Customs determined the hand trucks were

not produced by Taifa.          The court disagrees.         In its Notice of

Penalty, Customs alleged that LDI failed to state the correct

antidumping codes on some of the shipments.              Handler Decl. Ex. 24,

at LDI 2923.       There was no determination as to where the hand

trucks were manufactured.          Indeed, LDI admits that the result of

its    internal   investigation      following     the    Customs    notice       was

inconclusive, and it settled the matter before Customs could make

any final determination.        Id. Ex. 26, at LDI 2915.         The only actual

evidence in the record suggests that the hand trucks ordered

between 2005 and 2007 were in fact manufactured by Taifa.                     As a

result, those orders cannot form the basis of LDI’s fraud claim.

       The court also finds that Denson did not make fraudulent

statements regarding who manufactured the hand trucks delivered in

2008.    Denson did not state that the hand trucks were manufactured

by Taifa on its January 2008 invoice, nor did it claim that they

were subject to a lower antidumping duty rate.              Handler Decl. Ex.

6.      Denson    later   informed    LDI   that    the    hand     trucks    were


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manufactured by a separate factory in south China “who could not

add the clause anymore.”        Id. Ex. 7.      Despite this, LDI asked

Denson to place the clause on all future orders, and Denson

obliged.    Id.   Exs. 8-13.     Thereafter, all invoices included a

clause but did not indicate Taifa as the manufacturer.               Id. Exs.

13-14.     When LDI later asked whether specific hand trucks were

subject to the higher duty rate, To confirmed that they were, but

that “there should be no problem” because they were manufactured by

a “south China” factory “that is not famous (compare[d] with

Taifa).”    Id. Ex. 15, at DENSON 7655.          Because Denson did not

represent to LDI that any of the hand trucks delivered in 2008 were

manufactured by Taifa or subject to the lower antidumping duty

rate, LDI cannot now claim to have been misled in that regard.

     LDI’s fraudulent omission claim also fails because there is no

evidence    suggesting   that   Denson   intentionally        concealed       the

manufacturer of the hand trucks shipped in 2008.                 Indeed, the

January 2008 invoice did not state that the hand trucks were

subject to the higher antidumping duty, nor did it state that they

were manufactured by Taifa. There is simply no evidence to support

the contention that Denson concealed the manufacturing location.

As a result, summary judgment is warranted on the fraudulent

omission claim.




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                                CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that:

     1.    Denson’s motion for summary judgment [ECF No. 124] is

granted;

     2.    LDI’s motion for summary judgment [ECF No. 127] is

granted; and

     3.    Denson’s motion to exclude [ECF No. 146] is denied as

moot.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: September 1, 2015


                                         s/David S. Doty
                                         David S. Doty, Judge
                                         United States District Court




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